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                                           THE CITY OF NEW YORK                                          ERIN T. RYAN
ZACHARY W. CARTER
Corporation Counsel                       LAW DEPARTMENT                                        Special Federal Litigation
                                                                                                     Tel.: (212) 356-5056
                                              100 CHURCH STREET                                      Fax: (212) 356-3509
                                              NEW YORK, NY 10007                                      eryan@law.nyc.gov

                                                                        January 23, 2019

       BY ECF
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       Honorable LaShann DeArcy Hall
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                      Re:    Gonzalo Cortes, et al. v. City of New York, et al.,
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                             14-CV-3014 (LDH)(RML)

       Your Honor:

                        I am an Assistant Corporation Counsel in the office of Zachary W. Carter,
       Corporation Counsel of the City of New York, and one of the attorneys representing the defendant
       Sergeant Christopher Musa in the above referenced action. In that capacity, I write jointly with
       plaintiff’s attorneys to respectfully request that the trial in this matter be adjourned.

                      Following today’s conference, the parties discussed the issue of plaintiff’s expert,
       Dr. Stein, and defendant’s Daubert motion. After careful consideration, the parties now jointly
       propose that the trial in this matter be adjourned for the purpose of conducting additional, but
       limited, expert discovery. Specifically, the parties contemplate that plaintiff will file a
       supplemental expert report from Dr. Stein and, in response, if appropriate, defendant will retain a
       rebuttal expert and serve his Rule 26(a)(2) disclosures. Thereafter, depositions of each party’s
       respective expert will be conducted. The parties estimate that the remaining expert discovery can
       be completed within four months.

                        The parties are mindful of the Court’s schedule; however, we believe that a trial on
       the merits is beneficial to both parties. Accordingly, the parties respectfully request an
       adjournment of the trial, and all accompanying deadlines, until after this limited additional expert
       discovery is complete. Given the timing of this request and the fact that the Joint Pre-Trial Order
       (JPTO) is to be filed today, the parties are attaching the document hereto and respectfully reserve
       their rights to amend the JPTO pending the resolution of this application and any expert discovery.
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               Thank you for your consideration in this regard.

                                                           Respectfully submitted,

                                                                   /s/
                                                           Erin Teresa Ryan
                                                           Assistant Corporation Counsel
                                                           Special Federal Litigation


 cc:     Gabriel Harvis, Esq. (BY ECF)
         Raymond Panek, Esq.
         Attorneys for Plaintiff

 Encl.
